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                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
KAREN WORCESTER,                                    CASE NO.:

       Plaintiff,

vs.

OCWEN LOAN SERVICING, LLC,                          DEMAND FOR JURY TRIAL

      Defendant.
__________________________________/

                                         COMPLAINT

       COMES NOW, Plaintiff, KAREN WORCESTER (hereafter “Plaintiff”), by and through

undersigned counsel, and hereby sues Defendant, OCWEN LOAN SERVICING, LLC,

(hereafter “Defendant”), and states as follows:

                               PRELIMINARY STATEMENT

       This action arises out of Defendant’s violations of the Florida Consumer Collection

Practices Act, Florida Statute §§ 559.55 et seq. (hereafter the "FCCPA") and the Telephone

Consumer Protection Act, 47 U.S.C. §§ 227 et seq. (hereafter the “TCPA”).

                                 GENERAL ALLEGATIONS

       1.      Plaintiff is an individual who owned real property in Hillsborough County,

Florida subject to a note and mortgage serviced by Defendant.

       2.      This is an action for damages greater than $15,000.00.

       3.      Defendant is a foreign limited liability company as registered with Florida

Department of State, Division of Corporations.

       4.      Defendant is a “person” subject to regulations under Fla. Stat. § 559.72 and 47

U.S.C. § 227(b)(1).




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       5.      The debt is a “consumer debt” as defined by the FCCPA, Fla. Stat. §559.55(6).

                                   FACTUAL ALLEGATIONS

       6.      It is alleged by Defendant that Plaintiff owes a debt to Defendant relating to an

Ocwen Loan Servicing Mortgage Account, Account No. ending in –3998.

       7.         Plaintiff revoked any prior express consent to contact Plaintiff via cell phone or

any other form of communication on March 14, 2014 at 5:21 p.m., through a facsimile

transmission to Defendant’s facsimile no. (866) 709-4744. See facsimile confirmation attached

as Exhibit “A.”

       8.      Plaintiff’s cellular telephone number ends in -6430.

       9.      Defendant knowingly or willfully called Plaintiff’s cellular telephone after

Defendant had unequivocal notice from Plaintiff to cease any and all calls.

       10.     Defendant knowingly or willfully called Plaintiff’s cellular telephone after

Defendant had unequivocal notice that Plaintiff was represented by an attorney and could readily

ascertain the Firm’s contact information.

       11.     Defendant used an automatic telephone dialing system or an artificial or

prerecorded voice to place telephone calls to Plaintiff’s cellular telephone on the following dates

and times listed on the call logs of Plaintiff attached as Exhibit “B.”

       12.     Plaintiff’s attorney did not fail to respond within a reasonable period of time to

any communication from Defendant, did not consent to Defendant’s direct communication with

Plaintiff, and Plaintiff did not initiate any communications.

       13.     None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. § 227 (b)(1)(A).




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          14.   None of Defendant’s telephone calls placed to Plaintiff were made with Plaintiff’s

“prior express consent” as specified in 47 U.S.C. § 227 (b)(1)(A).

          15.   All conditions precedent to the filing of this lawsuit have been performed or have

occurred.

                                      COUNT I
                     VIOLATION OF THE FCCPA, FLA. STAT. § 559.72(7)

          16.   Plaintiff incorporates all allegations in the previous paragraphs as if stated fully

herein.

          17.   Jurisdiction is proper pursuant to Florida Statute § 559.77(1).

          18.   Defendant violated Florida Statute § 559.72(7) when it willfully communicated

with Plaintiff with such frequency as can reasonably be expected to abuse or harass Plaintiff.

          19.   Specifically, Defendant continued to make numerous telephone calls to Plaintiff’s

cellular telephone after being notified to no longer call Plaintiff through any means.

                WHEREFORE, Plaintiff, KAREN WORCESTER, demands judgment against

Defendant, OCWEN LOAN SERVICING, LLC, for the following relief:

                a.      any actual damages sustained by Plaintiff as a result of the above

allegations;

                b.      additional statutory damages pursuant to Florida Statute § 559.77(2) in the

amount of $1,000.00;

                c.      pursuant to §559.77(2), any specific or injunctive relief necessary to make

Plaintiff whole;

                d.      in the case of a successful action sustaining the liability of Defendant,

pursuant to the FCCPA, Fla. Stat. § 559.77(2), costs of the action, together with reasonable

attorney’s fees incurred by Plaintiff; and



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                e.      any other relief the Court deems just and proper.

                                      COUNT II
                     VIOLATION OF THE FCCPA, FLA. STAT. § 559.72(18)

          20.   Plaintiff incorporates all allegations in the previous paragraphs as if stated fully

herein.

          21.   Jurisdiction is proper, pursuant to Florida Statute § 559.77(1).

          22.   Defendant violated the FCCPA, Fla. Stat. § 559.72(18), when it knowingly

communicated with Plaintiff after it knew Plaintiff was represented by counsel and could

reasonably ascertain the name and address of counsel.

          23.   Specifically, Defendant continued to place phone calls to Plaintiff’s cellular

telephone despite having actual knowledge that Plaintiff was represented by an attorney.

                WHEREFORE, Plaintiff, KAREN WORCESTER, demands judgment against

Defendant, OCWEN LOAN SERVICING, LLC, for the following relief:

                a.      any actual damages sustained by Plaintiff as a result of the above

allegations;

                b.      additional statutory damages pursuant to Florida Statute § 559.77(2) in the

amount of $1,000.00;

                c.      pursuant to §559.77(2), any specific or injunctive relief necessary to make

Plaintiff whole;

                d.      in the case of a successful action sustaining the liability of Defendant,

pursuant to the FCCPA, Fla. Stat. § 559.77(2), costs of the action, together with reasonable

attorney’s fees incurred by Plaintiff; and

                e.      any other relief the Court deems just and proper.




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                                             COUNT III

                     VIOLATION OF THE TCPA, 47 U.S.C. § 227(b)(1)(A)(iii)

          24.   Plaintiff incorporates all allegations in the previous paragraphs as if stated fully

herein.

          25.   Jurisdiction is proper pursuant to 47 U.S.C. § 227(b)(3).

          26.   Defendant used an automatic telephone dialing system or an artificial or

prerecorded voice as defined by 47 U.S.C. § 227(a)(1)(A)(iii) to make telephone calls to

Plaintiff’s cellular telephone.

          27.   Defendant independently violated 47 U.S.C. § 227(b)(1)(A)(iii) for each call that

Defendant placed to Plaintiff’s cellular telephone using an automatic telephone dialing system or

an artificial or prerecorded voice.

          28.   The phone calls made by Defendant are considered willing and knowing

violations of the TCPA, as Defendant is well aware of the TCPA and its prohibitions.

          WHEREFORE, Plaintiff, KAREN WORCESTER, demands judgment against

Defendant, OCWEN LOAN SERVICING, LLC, for the following relief:

                a.       statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) in the amount of

$500.00 for each of the independent violations occurring after March 14, 2014;

                b.       an increase in the amount of the award to an amount equal to three times

the amount available pursuant to 47 U.S.C. § 227(b)(3)(B) where each of Defendant’s

independent violations were made willfully or knowingly; and

                c.       any other relief the Court deems just and proper.




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                                 DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury as to all issues.


Dated this January 29, 2016


                                               Boss Law

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